     Case: 1:16-cv-03371 Document #: 195 Filed: 07/16/18 Page 1 of 2 PageID #:1843



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


SONRAI SYSTEMS, LLC,

              Plaintiff,
                                            CIVIL ACTION NO. 1:16-CV-3371
v.
                                            U.S. District Judge Thomas M. Durkin
ANTHONY M. ROMANO, et al.,

              Defendants.                   U.S. Magistrate Judge Michael T. Mason




        NOTICE OF UNOPPOSED MOTION TO WITHDRAW AND TERMINATE
             PATRICK O. QUINN AS AN ATTORNEY OF RECORD

         PLEASE TAKE NOTICE that on, July 19, 2018 at 9:00 a.m. or as soon thereafter as
counsel may be heard, we shall appear before the Honorable Thomas M. Durkin, or any judge
sitting in his stead, in Courtroom 1441 of the Everett McKinley Dirksen Building, 219 South
Dearborn Street, Chicago, Illinois, and then and there present an Unopposed Motion To
Withdraw And Terminate Patrick O. Quinn As An Attorney Of Record. A copy of the Motion
has been previously served upon you.



Dated: July 16, 2018                            Respectfully submitted,

                                                /s/ Patrick O. Quinn
                                                Quinn Law Group, LLC
                                                350 S. Northwest Hwy, Ste 300
                                                Park Ridge IL 60068
                                                pat@pquinnlaw.com
                                                (Attorney No. 6287147)
   Case: 1:16-cv-03371 Document #: 195 Filed: 07/16/18 Page 2 of 2 PageID #:1844



                                CERTIFICATE OF SERVICE


       I hereby certify that on July 16, 2018, I caused a true and accurate copy of the

foregoing document to be filed electronically with the Clerk of the Court by using the Court’s

CM/ECF system, which will send a notice of electronic filing to all counsel of record.



                                          /s/ Patrick O. Quinn
                                          Patrick O. Quinn
                                          Quinn Law Group, LLC
                                          350 S. Northwest Hwy
                                          Suite 300
                                          Park Ridge IL 60068
                                          pat@pquinnlaw.com
                                          (Attorney No. 6287147)
